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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       ALIVIA BLOUNT,                                     Case No. 25-cv-02211-JSW
                                                         Plaintiff,
                                   8
                                                                                              ORDER ADOPTING REPORT AND
                                                  v.                                          RECOMMENDATION AND
                                   9
                                                                                              JUDGMENT
                                  10       CONTRA COSTA COUNTY FAMILY
                                           COURT, et al.,                                     Re: Dkt. No. 6
                                  11                     Defendants.
                                  12
Northern District of California
 United States District Court




                                  13           This matter comes before the Court upon consideration of Magistrate Judge Sallie Kim’s

                                  14   report and recommendation (“Report”), in which she recommends the Court dismiss Plaintiff’s

                                  15   Complaint, without prejudice to refiling in state court. Plaintiff objects to the Report (Dkt. No. 7).

                                  16   She also has filed an amended complaint (Dkt. No. 11). The Court has considered the Report,

                                  17   each of Plaintiff’s filings in this case, and relevant legal authority.

                                  18           Plaintiff brings this putative civil rights action against the Contra Costa County Family and

                                  19   Superior Courts, Contra Costa County, and Judge Gina Dashman. Plaintiff’s claims arise out of

                                  20   visitation and custody disputes. In one of her most recent filings, Plaintiff states that she has been

                                  21   unsuccessfully attempting to file motions in those proceedings to hold the child’s father in

                                  22   contempt. (See, e.g., Dkt. No. 11.) 1

                                  23           Judge Kim recommended dismissing the matter against Judge Dashman based on judicial

                                  24   immunity. Plaintiff objects on the basis that Judge Dashman’s actions were administrative. An

                                  25   act is considered “judicial” when it is a function normally performed by a judge and the parties

                                  26   dealt with the judge in his judicial capacity. See Stump v. Starkman, 435 U.S. 349, 362 (1978).

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                                  28            The Court has considered all of Plaintiff’s filings to assess whether it should grant leave to
                                       file an amended complaint in this Court.
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                                   1           To determine if an individual acted in an official judicial capacity, a court must analyze

                                   2   whether: “(1) the precise act is a normal judicial function; (2) the events occurred in the judge’s

                                   3   chambers; (3) the controversy centered around a case then pending before the judge; and (4) the

                                   4   events at issue arose directly and immediately out of a confrontation with the judge in his or her

                                   5   official capacity.” Id. (citation omitted). Plaintiff alleges Judge Dashman failed to issue a written

                                   6   order. The Court finds Judge Kim’s reasoning through and overrules Plaintiff’s objections to

                                   7   dismissing the claims against Judge Dashman. The Court also has considered the allegations in

                                   8   Plaintiff’s amended complaint and the other materials she has filed and concludes the allegations

                                   9   still show Judge Dashman would be entitled to judicial immunity. (See Amended Complaint ¶¶ 8-

                                  10   9, 15, 18-19; see also Dkt. No. 16.)

                                  11           Plaintiff also sued Contra Costa County and the Family Court. Judge Kim also

                                  12   recommended dismissing the case based on the Rooker-Feldman doctrine reasoning that Plaintiff
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                                  13   asks to reverse state court orders. Plaintiff argues she is only challenging “unconstitutional

                                  14   procedures in the enforcement of a restraining order,” citing Kougasian v. TMSL, Inc., 359 F.3d

                                  15   1136, 1140-41 (9th Cir. 2004). (Objections at 3:5-7.) The Court does not find Plaintiff’s reliance

                                  16   on Kougasian persuasive. First, Plaintiff does not allege that the state court judgments were

                                  17   procured by fraud on the courts. Second, the wrongs alleged in her Complaint are based on Judge

                                  18   Dashman’s failure to issue a written order or other judicial actions. For that reason, the Court

                                  19   concludes Judge Kim’s decision was well-reasoned.

                                  20           Plaintiff’s additional filings do not alter the Court’s conclusion. Plaintiff continues to

                                  21   argue Judge Dashman did not issue a written order and has continued to enforce an expired

                                  22   restraining order. Plaintiff also now alleges she has been denied access to the court by those

                                  23   decisions, by “systemic delays”, and by the failure to accept motions to hold her ex-partner in

                                  24   contempt. (Amended Complaint ¶¶ 10.c, 18; see also Dkt. Nos. 21-22.) 2

                                  25           Finally, assuming Plaintiff’s claims are not barred by the Rooker-Feldman doctrine, the

                                  26   Court still finds dismissal is warranted. Judge Kim also recommended abstaining based on

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                                  28           Plaintiff includes allegations about actions that her ex-husband has taken that, in her view,
                                       violate state court orders. (Amended Complaint ¶¶ 11-14.)
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                                   1   Younger v. Harris, 401 U.S. 37 (1971). A court is required to abstain under Younger when “(i) the

                                   2   state proceedings are ongoing; (ii) the proceedings implicate important state interests; and (iii) the

                                   3   state proceedings provide an adequate opportunity to raise federal questions.” Delta Dental Plan

                                   4   of Cal., Inc. v. Mendoza, 139 F.3d 1289, 1294 (9th Cir. 1988) internal citations and quotations

                                   5   omitted).

                                   6           Plaintiff does not suggest the state court proceedings have concluded, and her filings

                                   7   suggest otherwise. She also does not dispute that the state custody proceedings implicate

                                   8   important state interests. See, e.g., H.C. v. Koppel, 203 F.3d 610, 613 (9th Cir. 2000). Finally, the

                                   9   Court concludes Plaintiff’s arguments regarding her inability to file the motion for contempt and

                                  10   the other issues raised in her amended complaint do not demonstrate she lacks an adequate

                                  11   opportunity to present her constitutional claims in the state proceedings. See, e.g., id. at 612-614.

                                  12           Accordingly, the Court ADOPTS the Report and dismisses the case without prejudice to
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                                  13   raising these issues in the state court proceedings. This Order shall operate as the judgment and

                                  14   the Clerk shall close the file.

                                  15           IT IS SO ORDERED.

                                  16   Dated: April 7, 2025

                                  17                                                    ______________________________________
                                                                                        JEFFREY S. WHITE
                                  18                                                    United States District Judge
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